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AO 450 (SCD 04/2010) Judgment in a Civil Action


                             UNITED STATES DISTRICT COURT
                                                               for the
                                                   District of South Carolina


                        Renata Fox                                    )
                           Plaintiff
                                                                      )
                      v.                                                       Civil Action No. 5:20-cv-2498-TMC
                                                                      )
       Commissioner of the Social Security
                                                                      )
               Administration
                          Defendant                                   )

                                JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                      recover from the defendant (name)                          the amount of

dollars ($    ), which includes prejudgment interest at the rate of       %, plus postjudgment interest at the rate of   %, along

with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)

recover costs from the plaintiff (name)                                    .

O other: The Commissioner’s decision is reversed, and this action is remanded to the

Commissioner for further administrative proceedings pursuant to sentence four of 42 U.S.C.
§ 405(g).

This action was (check one):

’ tried by a jury, the Honorable                               presiding, and the jury has rendered a verdict.


’ tried by the Honorable                           presiding, without a jury and the above decision was reached.

O decided by the Honorable Timothy M. Cain, United States District Judge, who adopted the Report and
Recommendation of the Honorable Kaymani D. West, United States Magistrate Judge.

                                                                            ROBIN L. BLUME
Date:         October 4, 2021                                              CLERK OF COURT


                                                                           s/ Glenda J. Nance
                                                                                  Signature of Clerk or Deputy Clerk
